                                   IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF VIRGINIA
                                            ROANOKE DIVISION

                               CRIMINAL MINUTES - GUILTY PLEA HEARING

Case No.: 7:17CR0033                        Date: 4/11/2018

Defendant: Bobby Nelson Collins, Jr., Custody                     Counsel: James C. Turk, Jr., CJA

PRESENT:         JUDGE:                     Elizabeth K. Dillon    TIME IN COURT: 10:47a – 11:32 (45 min)
                 Deputy Clerk:              B. Weeks
                 Court Reporter:            J. Webb
                 U. S. Attorney:            Ashley Neese
                 USPO:                      Andrew Ridgway
                 Case Agent:                K. Teehan


PROCEEDINGS:

         Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
         advises defendant of his/her rights, and the nature and possible consequences of plea.
         Court accepts plea of guilty.
         Court takes the plea agreement under advisement.
         Guilty plea form executed and filed.
         Plea Agreement filed with court.
         Government summarizes evidence to support plea and rests.
         Court finds defendant guilty as charged in Count 3.

DEFENDANT PLEADS:


   DEF. #             GUILTY                NOT GUILTY            NOLO                      REMARKS
             3, of the Indictment
     1

         Court orders Presentence Report.
         Defendant remanded to custody.
         Sentencing hearing scheduled for TBD before Elizabeth K. Dillon.
